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                             Richard A. Gorman

 1          IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2
         JOHN C. MONARCH, an            : CASE NO.
 3       individual; DIRECT             : 2:14-cv-05980-GAM
         OUTBOUND SERVICES              :
 4       LLC, a South                   :
         Carolina limited               :
 5       liability company,             :
              Plaintiffs                :
 6                                      :
            vs.                         :
 7                                      :
         RICHARD A. GORMAN;             :
 8       GORMAN ECONOMICS,              :
         LLC, a Delaware                :
 9       limited liability              :
         company, dba AT                :
10       COST FULFILLMENT;              :
         LLC, VANGUARD                  :
11       ECONOMICS, LLC, a              :
         Georgia limited                :
12       liability company,             :
         dba AT COST                    :
13       FULFILLMENT, LLC,              :
         dba                            :
14       FULFILLMENT.COM; AT            :
         COST                           :
15       NUTRACEUTICALS,                :
         LLC, a Georgia                 :
16       limited liability              :
         company; BRAND.COM,            :
17       INC., a                        :
         Pennsylvania                   :
18       Corporation; JOHN              :
         DOE 1; JOHN DOE 2;             :
19       and JOHN DOE 3,                :
              Defendants                :
20
                                - - -
21                      Thursday, May 5, 2016
                                - - -
22
23              GOLKOW TECHNOLOGIES, INC.
          877.370.3377 ph | 917.591.5672 fax
24                   deps@golkow.com
Golkow Technologies, Inc.                                          Page 00001
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 1                   Q.       So you believe, I think you
 2        testified earlier, correct me if I am
 3        wrong, that you believe Mr. Monarch is
 4        this person that goes by Ilya or Ilya
 5        BLT; is that correct?
 6                   A.       I believe that through the
 7        discovery in the lawsuit that I filed as
 8        did Mr. Monarch in his countersuit that
 9        Mr. Monarch is deeply involved and
10        actively or was actively involved in
11        using that fake name or alias if you
12        will.
13                   Q.       So you think, I'll just call
14        him Ilya because I'm really not sure of
15        his name, so you believe Ilya and Mr.
16        Monarch is the same person?
17                   A.       Well, I do.
18                   Q.       And as you sit here today,
19        you currently believe that?
20                   A.       Mr. Warner, I think that all
21        of the evidence, the circumstantial
22        evidence points that Mr. Monarch who, you
23        know, who utilizes lots of different
24        aliases and, you know, pseudonyms and
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 1        screen names on the Internet, I believe
 2        that this Ilya, you know, alias or
 3        pseudonym if you will is certainly
 4        someone that -- or an alter ego of Mr.
 5        Monarch's and he was invited to a private
 6        dinner by this Ilya who goes by Ilya
 7        Putin, Ilya Syanov, Ilya BLT and but yet
 8        doesn't really know who this person is
 9        and goes to a private dinner with him and
10        has his company logo, has the most
11        prominent logo listed on this Ilya
12        website and it just so happens that I
13        think every person, just about every
14        person that this Ilya person had attacked
15        on PerformOutsider through our discovery
16        it looks like Mr. Monarch has also
17        attacked or contributed or opined when
18        that person was being attacked in a
19        sarcastic manner.
20                            You know, it's odd that all
21        of these other banners we found in
22        discovery, you know, Greenville, South
23        Carolina, a placed that I mean is for the
24        Internet marketing world is really is
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 1                   objection.
 2                            MR. WARNER:        Please keep it
 3                   to form.
 4                            THE WITNESS:         Well, Mr.
 5                   Monarch patently denies being
 6                   involved in this PerformOutsider
 7                   in any, way, shape or form other
 8                   than the fact that this, you know,
 9                   this I guess Ilya person is
10                   someone different and that he
11                   believes that he's proven this is
12                   someone different than himself.
13                   So I really do believe that anyone
14                   that objectively looks at this
15                   evidence here that we've found
16                   through the discovery process, you
17                   know, in this litigation would
18                   find that Mr. Monarch is indeed
19                   deeply involved.
20                            Mr. Monarch is somebody that
21                   goes to great lengths to hide his
22                   identity online.           For instance,
23                   his advertising network Stealth
24                   Media.      Right?      Stealth.       He likes
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 1                   Q.       Are you familiar with this
 2        document?
 3                   A.       I vaguely recall it.
 4                   Q.       This is the First Amended
 5        Verified Complaint you filed against Ilya
 6        Syanov -- am I saying that right?                    Do you
 7        know how to pronounce that?
 8                   A.       I don't.
 9                   Q.       Okay.     So Ilya Syanov and
10        Karl F. Steinborn.
11                   A.       John Doe 1, John Doe 2 and
12        John Doe 3.
13                   Q.       Right.      Let's look at
14        Paragraph 16.          Can you read that please
15        aloud?
16                   A.       On or about July 29, 2013,
17        an article appeared on the website
18        PerformOutsider.com which contained
19        numerous erroneous statements concerning
20        criminal activity and Plaintiff Gorman,
21        see PerformOutsider.com/2013/07/29/
22        richard-gorman-aka-directresponse-net-
23        criminal-past, period.              A true an
24        accurate copy of the July 29th, 2013
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 1        know what Mr. Montgomery would testify
 2        to, I don't know whether, you know, the
 3        veracity or mendacity of Mr. Montgomery,
 4        what he would say, however -- yeah, I
 5        just don't know what his testimony would
 6        be.
 7                   Q.       I'm going to ask you a
 8        hypothetical question.              They're probably
 9        going to object but I'm going to ask you
10        anyway.       If I were to get all these
11        people together and parade them into the
12        courtroom and get them up there one after
13        the other and talk about how they had
14        dinner with this guy and his name is Ilya
15        and they went out with him for drinks,
16        showed I.D., blah, blah, blah, would you
17        still believe that Mr. Monarch and Ilya
18        is the same person?
19                            MR. CROSS:        Objection.
20                            THE WITNESS:         Absolutely.
21        BY MR. WARNER:
22                   Q.       You would?
23                   A.       Uh-huh.
24                   Q.       Wow!     Okay.
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 1                   A.       It does.
 2                   Q.       Okay.     Did you help your --
 3        did you verify the answers to these
 4        Request for Admissions?
 5                   A.       I believe so.
 6                   Q.       Let's look at Request Number
 7        2.    It's on Page 2.           It says that admit
 8        that Ilya and Monarch is not the same
 9        person.       And can you read where it starts
10        "as indicated above"?              Do you see where
11        that is?        You can read the whole response
12        if you'd like.
13                   A.       Which one are you pointing
14        to?
15                   Q.       Sure.     This is the response.
16                   A.       Okay.     You want me to start
17        reading here?
18                   Q.       Yeah.
19                   A.       Sure.     2:    Admit that Ilya
20        and Monarch is not the same person.
21                            Response:       Plaintiff is
22        without sufficient information or
23        personal knowledge to admit or deny this
24        request.        Plaintiff has made a reasonable
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 1        inquiry, and information known or readily
 2        obtainable by Plaintiff is insufficient
 3        to enable him to admit or deny this
 4        Request.        As indicated above, Plaintiff
 5        believes and is informed that Monarch and
 6        Ilya are separate persons; this person
 7        (sic) is based in part on Monarch's own
 8        discovery responses and his action;
 9        however, this belief is not based on
10        Plaintiff's personal knowledge.
11                   Q.       Is this correct?
12                            MR. RILEY:        Objection to the
13                   form of the question.             I'll allow
14                   the witness to respond.
15                            MR. CROSS:        Join.
16                            THE WITNESS:         Plaintiff is
17                   without sufficient information or
18                   personal knowledge to admit or
19                   deny this request; plaintiff has
20                   made a reasonable inquiry and
21                   information known or readily
22                   obtained by Plaintiff is
23                   insufficient to enable him to
24                   admit or deny this request.
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 1                            I believe that at the time,
 2                   as indicated above, Plaintiff
 3                   believes and is informed that
 4                   Monarch and Ilya are separate
 5                   persons, this belief -- this
 6                   belief is based in part on
 7                   Monarch's own discovery responses
 8                   in this action; however, this
 9                   belief is not based on Plaintiff's
10                   personal knowledge.
11                            That's correct.
12        BY MR. WARNER:
13                   Q.       That's correct?
14                   A.       Yes, as of that time.
15                   Q.       As of that time?
16                   A.       Yes.
17                   Q.       Okay.     What have you learned
18        since then that would change your belief?
19                   A.       Sure.     Well, you know, I've
20        spent significant time with counsel in
21        this case.
22                            MR. CROSS:        I just want to
23                   make sure you're not revealing
24                   things that counsel and you have
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